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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION

  UNITED STATES OF AMERICA                           §
                                                     §
  versus                                             § CRIMINAL ACTION NO.:1:20cr79-12
                                                     §
  Jahcov Johnson                                     §


                                         PRE-TRIAL ORDER

           This case is reset for Final Pre-Trial Conference onSeptember 20, 2021 at 9:00 a.m.
  in Courtroom #3, United States Courthouse, Beaumont, Texas, at which time dates for Jury
  Selection and Trial will be determined. Counsel shall be prepared to commence jury selection
  and trial in the afternoon and continuing thereafter.

           The following deadlines shall apply in this case.

           August 16, 2021           Any motion to suppress evidence shall be filed with the court.

           August 30, 2021           Any motion for continuance shall be filed with the court.

           September 7, 2021         Counsel for the Government shall deliver to counsel for
                                     Defendant(s) proposed jury instructions.

           September 3, 2021         The parties shall notify the Court of any plea agreement or
                                     whether the case will proceed to trial.
                                      Notification of a plea agreement shall be by email, hand delivery
                                     or fax of a signed copy of the plea agreement and factual basis
                                     for the plea. Notification that the case will proceed to trial may
                                     be by email or telephone. After this deadline, no plea
                                     agreement will be honored by the court, and Defendant may
                                     not receive a points reduction for acceptance of responsibility.

           September 10, 2021        If the parties do not notify the Court of a plea agreement as
                                     provided above, defense counsel shall deliver to counsel for the
                                     Government any additional jury instructions desired by
                                     Defendant(s). If two or more Defendants are represented by
                                     separate counsel, their submission must be made jointly.

           September 13, 2021        Counsel for Defendant(s) and counsel for the Government
                                     shall confer to determine which jury instructions can be agreed upon.
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       September 13, 2021      Parties shall file any motions in limine.

       September 14, 2021      Counsel for the Government and counsel for the Defendant(s) shall:

            A.   Jointly file agreed upon instructions;

            B.   Each file any proposed instructions that were not agreed upon, citing the
                 authority for each instruction. (Any party seeking to file proposed jury
                 instructions after the deadline may do so only with leave of Court.);

            C.   Each file any objections to the other’s proposed jury instructions. Objections
                 must be written, specific, cite authority, and include any alternate instructions
                 counsel deem more appropriate;

            D.   Each file proposed voir dire questions;

            E.   If counsel believes that a written response to a particular motion in limine is
                 needed, file it.

            F.   Each provide the court a list of witnesses, a list of exhibits anticipated to be
                 introduced during trial, and a copy of each marked exhibit. All exhibits to be
                 used for trial shall be pre-marked numerically and in succession. (Groups of
                 exhibits pertaining to the same subject matter, such as photos of same scene,
                 may, at counsel’s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.)
                 Counsel shall provide the Court the original and two (2) copies of each list and
                 marked exhibit.


           SIGNED this 12th day of July, 2021.




                                                      _________________________
                                                      Zack Hawthorn
                                                      United States Magistrate Judge
